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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                  )   CR. NO. 21-00061 JAO
                                           )
             Plaintiff,                        CERTIFICATE OF SERVICE
                                           )
                                           )
      vs.
                                           )
                                           )
MARTIN KAO,                                )
                                           )
             Defendant.                    )
                                           )
                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this date a true and correct copy of the

foregoing document shall be duly served electronically through CM/ECF upon the

following:

      CRAIG S. NOLAN
      U.S. Attorney’s Office
      (Craig.Nolan@usdoj.gov )

      Malia Eversole
      Supervisory U.S. Probation Officer
      (malia_eversole@hip.uscourts.gov)

      DATED: Honolulu, Hawaii, August 2, 2023.

                                /s/ Victor J. Bakke
                                VICTOR J. BAKKE

                                Attorney for Defendant
                                MARTIN KAO



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